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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


 UNITED STATES OF AMERICA

                Plaintiff,
                                                                 CASE NO: 1:21-CR-20337
 v.

 ADOLFO FERNANDEZ,

             Defendant.
 _______________________________/

             UNOPPOSED MOTION FOR ADDITIONAL TIME TO FILE OBJECTIONS TO PSR
                             AND CONTINUE SENTENCING


        COMES NOW, the Defendant ADOLFO FERNANDEZ, by and through the undersigned

 counsel and hereby files his Motion For Additional Time to File Objections to PSR and Continue

 Sentencing and in support thereof states as follows:

        1.      The undersigned counsel believes that under 18 U.S.C. § 3161 (h)(7), the Court will

 find that the ends of justice by granting this continuance outweigh the best interest of the public.

        2.      Mr. Adolfo Fernendez’ sentencing is scheduled for February 25, 2022.

        3.      The undersigned counsel is scheduled to be out of town from February 19, 2022

 through February 28, 2022 for the purpose of university campus tours with his daughter

        4.      Due to various factors including the holidays, illness, and lack of staff due to

 COVID, the defense will be delayed in filing objections to the PSR and its preparation for the

 sentencing hearing.

        5.      The undersigned Counsel has conferred with Adam Hapner, AUSA, who has

 advised that the Government has no objection to the relief sought in this motion.

        6.      The Defendant’s sentencing has not been previously continued.
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        7.      The Defendant is in custody.

        8.      A delay will not prejudice the parties.

        9.      This motion is brought in good faith and for no other reason than indicated herein.



        WHEREFORE, the defendant respectfully requests that the Court grant this Motion for

 Additional Time to File Objections to PSR and Continue Sentencing and enter a corresponding

 order resetting the matter to a future date.



                                      CERTIFICATE OF SERVICE



        I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

 electronically filed with the Office of the Clerk, United States District Court, Southern District of

 Florida and served upon the Office of the United States Attorney, this 29th day of January 2022

        .

                                                       THE DEL VILLAR FIRM, P.A.
                                                          Jorge L. Del Digitally signed by
                                                                       Jorge L. Del Villar, Esq.

                                                          Villar, Esq. Date: 2022.01.29
                                                                       08:36:28 -05'00'
                                                       Jorge L. Del Villar, Esq.
                                                       12651 S Dixie Hwy
                                                       Suite 100
                                                       Pinecrest, Florida 33156
                                                       Telephone: (305) 669-7007
                                                       Facsimile:      (305) 230-2669
                                                       jdv.dvfirm@gmail.com
                                                       Florida Bar Number 022802
                                                       Counsel for Defendant




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